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‘ U.S. Department of Justice

 

United States Attorney
District of Maryland
Northern Division

 

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January 14, 2011

Patrick Kent, Esq.

Assistant Federal Public Defender
Federal Public Defender’s Office
100 South Charles Street
Baltimore, MD 21201-2724

Re: United States v. Edward Sample
Crim. No. RDB-10-0477

Dear Mr. Kent:

This letter, together with the Sealed Supplement, confirms the plea agreement that has been
offered to the Defendant, Edward Sample, by the United States Attorney’s Office for the District of
Maryland (“this Office”). If the Defendant accepts this offer, please have him execute it in the
spaces provided below. If this offer has not been accepted by January 21, 2011, it will be deemed
withdrawn, The terms of the agreement are as follows:

Offense of Conviction
1. The Defendant agrees to plead guilty to the Counts Two and Three of the Indictment -
now pending against him, in which he is charged, respectively, with Hobbs Act Robbery, in violation
of 18 U.S.C. § 1951(a), and Possessing a Firearm in Furtherance ofa Crime of Violence, in violation

of 18 U.S.C. § 924(c). The Defendant admits that he is, in fact, guilty of these offenses and will so
advise the Court.

Elements of the Offense

2. The elements of the offense to which the Defendant has agreed to plead guilty, and
which this Office would prove if the case went to trial, are as follows:

Count Two

On or about October 20, 2009, in the District of Maryland,

GOVERNMENT
EXHIBIT,

=——_

 

 

 
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a. The Defendant obtained property from another without that person's consent;
and

b. The Defendant did so by wrongful use of actual or threatened force, violence,
or fear; and

c. As a result of the Defendant's actions, interstate commerce, or an item
moving in interstate commerce, was actually or potentially delayed,
obstructed, or affected in some way or degree.

Count Three

On or about October 20, 2009, in the District of Maryland,

a. The Defendant committed a crime of violence, specifically Interference with
Commerce by Robbery, as charged in Count Two of the Indictment, for
which he might be prosecuted in a court of the United States; and

b. The Defendant, in furtherance of the crime of violence charged in Count Two
of the Indictment, knowingly possessed a firearm.

Penalties

 

3. The maximum sentence provided by statute for the offense to which the Defendant
is pleading guilty is as follows: Count Two: twenty (20) years imprisonment; a $250,000 fine; and
a period of supervised release of up to three (3) years; Count Three: life imprisonment (with a five
year mandatory minimum term of imprisonment consecutive to any other term of imprisonment
imposed); a $250,000 fine; and a period of supervised release of up to five (5) years. In addition,
the Defendant must pay $100 for each count of conviction as a special assessment pursuant to 18
U.S.C. § 3013, which will be due and should be paid at or before the time of sentencing. This Court
may also order him to make restitution pursuant to 18 U.S.C. §§ 3663, 3663A, and 3664,’ Ifa fine
or restitution is imposed, it shall be payable immediately, unless, pursuant to 18 U.S.C. § 3572(d),
the Court orders otherwise. The Defendant understands that if he serves a term of imprisonment,
is released on supervised release, and then violates the conditions of his supervised release, his
supervised release could be revoked — even on the last day of the term — and the Defendant could be
returned to custody to serve another period of incarceration and a new term of supervised release.
The Defendant understands that the Bureau of Prisons has sole discretion in designating the
institution at which the Defendant will serve any term of imprisonment imposed.

 

' Pursuant to 18 U.S.C. § 3612, if the Court imposes a fine in excess of $2,500 that
remains unpaid 15 days after it is imposed, the Defendant shall be charged interest on that fine,
unless the Court modifies the interest payment in accordance with 18 U.S.C. § 3612(f}(3).

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Waiver of Rights

4, The Defendant understands that by entering into this agreement, he surrenders certain
rights as outlined below:

a. If the Defendant had persisted in his plea of not guilty, he would have had the
right to a speedy jury trial with the close assistance of competent counsel. That trial could be
conducted by a judge, without a jury, if the Defendant, this Office, and the Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty ofany count. The jury
would be instructed that the Defendant was presumed to be innocent and that presumption could be
overcome only by proof beyond a reasonable doubt.

c. If the Defendant went to trial, the government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the government’s witnesses. The Defendant would not have to present
any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in his
defense, however, he would have the subpoena power of the Court to compel the witnesses to attend.

d. The Defendant would have the right to testify in his own defense if he so
chose, and he would have the right to refuse to testify. If he chose not to testify, the Court could
instruct the jury that they could not draw any adverse inference from his decision not to testify.

e. If the Defendant were found guilty after a trial, he would have the right to
appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of evidence to see
if any errors were committed that would require a new trial or dismissal of the charges against him.
By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and the Court’s’
decisions,

f. —° Bypleading guilty, the Defendant will be giving up all of these rights, except
the right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph below, to
appeal the sentence. By pleading guilty, the Defendant understands that he may have to answer the
Court’s questions both about the rights he is giving up and about the facts of his case. Any
statements the Defendant makes during such a hearing would not be admissible against him during
a trial except in a criminal proceeding for perjury or false statement.

g. Ifthe Court accepts the Defendant’s plea of guilty, there will be no further trial
or proceeding of any kind related to his guilt or innocence, and the Court will find the Defendant

guilty.

 
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h. By pleading guilty, the Defendant will also be giving up certain valuable civil
rights and may be subject to deportation or other loss of immigration status.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. §§ 3551-3742 (excepting 18 U.S.C. §§ 3553(b)(1) and 3742(e)) and 28
U.S.C. §§ 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the advisory
guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant understand, agree and stipulate to the following
Statement of Facts, which this Office would prove beyond a reasonable doubt, and to the following
applicable sentencing guidelines factors:

a. On or about October 20, 2009, at approximately 4:15 p.m., the Defendant,
Edward Sample, entered York Liquors in Towson, Maryland, in possession of a loaded revolver and
with the intent to commit arobbery. After feigning interest in purchasing a 22 ounce can of “Steel
Reserve” malt liquor, the Defendant demanded that the clerk hand over the money in the store’s
register. The clerk emptied the store’s two registers and gave the money to the Defendant, then lay
down on the floor behind the counter. The Defendant then left the store. The money stolen from
the store included proceeds from the sale of goods that traveled in interstate commerce.

The Defendant’s fingerprint was found on the can of “Steel Reserve” malt
liquor that he left on the counter and his image was captured on the store’s security camera, During
the robbery, the Defendant wore a distinctive, maroon Aeropostale sweatshirt, which he was wearing
when he was arrested several months later. The Defendant subsequently confessed to the robbery
in a post-Miranda interview with members of the Baltimore County Police Department, The firearm
was never recovered.

- Subsequently, on January 5, 2010, the Defendant robbed Grace’s Grocery and
Deli in Baltimore, Maryland, with two co-conspirators. During the robbery, the Defendant was
captured on a security camera wearing a blue and white striped polo shirt and a green jacket. These
articles of clothing were recovered during the execution of a search warrant of an apartment where
the Defendant lived. During this robbery, one of the Defendant’s co-conspirators possessed a
Walther .32 caliber pistol, model PP, with serial number 102770P. This gun was recovered from
the apartment where the Defendant lived after the Defendant in a post-Miranda statement informed
police officers of the gun’s location. The Defendant confessed to participating in this robbery in a
post-Miranda interview with members of the Baltimore County Police Department. The money
stolen from the store included proceeds from the sale of goods that traveled in interstate commerce.

 

 
 

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Finally, on January 19, 2010, the Defendant again robbed York Liquors in
Towson, Maryland, this time with a co-conspirator. The Defendant’s co-conspirator possessed the
same Walther .32 caliber pistol used in the robbery of Grace’s Grocery and Deli, and placed the gun
to the head of one store clerk while demanding money. During the January 19 robbery, the
Defendant wore the same maroon Aeropostale sweatshirt that he wore during the previous robbery

and in which he was subsequently arrested. The Defendant also played an active role in the January -

19 robbery, ordering a second store clerk to open a different register and taking the money removed
from the register by the second clerk. The Defendant’s image was captured on the store’s security

video and the Defendant ‘confessed to participating in this robbery in a post-Miranda interview —

conducted by the Baltimore County Police Department. The money stolen from the store included
proceeds from the sale of goods that traveled in interstate commerce.

b, The parties stipulate and agree that the base offense level for Count Two —

is at least 20 pursuant to U.S.S.G. § 2B3.1(a). Pursuant to U.S.S.G. § 1B1.2, the base offense level
for Count Two is subject to a multiple counts adjustment based on the offense conduct admitted to
by the Defendant in Paragraph 6(a), supra. Pursuant to U.S.S.G, § 2B3.1(b)(2)(C), the January 5 and
January 19, 2010 robberies each carry a base offense level of 25. Under U.S.S.G, § 3D1.4, therefore,
the combined offense level is at least 28.

The parties further stipulate and agree that the guidelines sentence for Count

Three, Possessing a Firearm in Furtherance of a Crime of Violence, is sixty (60) months, pursuant |

to U.S.S.G. § 2K2.4(b) and 18 U.S.C. § 924(c)(1){A)G). The Defendant understands that the

sentence imposed for this offense must run consecutively to any other sentence imposed by the Court.

for any other offense.

Gc. This Office does not oppose atwo-level reduction in the Defendant’s adjusted
offense level, based upon the Defendant’s apparent prompt recognition and affirmative acceptance
of personal responsibility for his criminal conduct. This Office agrees to make a motion pursuant

to U.S.S.G. § 3E1].1(b) for an additional one-level decrease in recognition of the Defendant’s timely .

notification of his intention to plead guilty. This Office may oppose any adjustment for acceptance
of responsibility if the Defendant (a) fails to admit each and every item in the factual stipulation; (b)
denies involvement in the offense; (c) gives conflicting statements about his involvement in the
offense; (d) is untruthful with the Court, this Office, or the United States Probation Office; (€)
obstructs or attempts to obstruct justice prior to sentencing; (f) engages in any criminal conduct
between the date of this agreement and the date of sentencing; or (g) attempts to withdraw his plea

of guilty. Based on the foregoing, the adjusted combined offense level as to Counts Two and

Three would be at least 25, plus five years.

7. A pre-plea criminal history report prepared by the United States Probation Office
calculated the Defendant to have a criminal history category of Category V. This Office and the
Defendant stipulate and agree, pursuant to U.S.S.G § 4Al .3(b)(1), that a criminal history category
of Category. V substantially over-represents the serious of the Defendant’s criminal history and that
a downward departure for sentencing purposes to Category IV is appropriate.

 

 

 
 

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8. This Office and the Defendant agree that with respect to the calculation of criminal
history and advisory guidelines range, no other offense characteristics, sentencing guidelines factors,
potential departures or adjustments set forth in the United States Sentencing Guidelines will be
raised or are in dispute.

Forfeiture

9, The Defendant understands and agrees that as a result of his guilty plea, he will not
be permitted to own, possess, or use a firearm. He forfeits all rights, title, and interest in the
following firearm and ammunition:

one Walther .32 caliber pistol, model PP, with serial number 102770P, and ammunition,

Plea Pursuant to Rule 11(c\(1)(C}

10. The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
11(c)(1)(C) that a sentence of 180 months imprisonment in the custody of the Bureau of Prisons is
the appropriate sentence in this case (that is, 120 months imprisonment on Count Two and 60

‘months imprisonment, consecutive, on Count Three), This agreement does not affect the Court's
discretion to impose any lawful term of supervised release or fine or to set any lawful conditions of
probation or supervised release. In the event that the Court rejects this plea agreement, either party
may elect to declare the agreement null and void. Should the Defendant so elect, he will be afforded
the opportunity to withdraw his plea pursuant to the provisions of Federal Rule of Criminal

Procedure 11(d)(2)(A).

11. At the time of sentencing, this Office will recommend a sentence of 180 months of
imprisonment and restitution in the amount of $3,329.00, jointly and severally liable between the co-
defendants charged in this matter. At the time of sentencing, this Office will move to dismiss any
open counts against the Defendant.

12. | Theparties reserve the right to bring to the Court’s attention at the time of sentencing,
and the Court wil! be entitled to consider, all relevant information concemming the Defendant's
background, character and conduct, including the conduct that is the subject of the counts of the
Indictment that this Office has agreed to dismiss at sentencing.

Waiver of Appeal

13. _‘_In exchange for the concessions made by this Office and the Defendant in this plea
agreement, this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or
otherwise, to appeal the Defendant’s conviction.

b. The Defendant and this Office knowingly waive all right, pursuant to 18
U.S.C. § 3742 or otherwise, to appeal whatever sentence is imposed (including the right to appeal
any issues that relate to the establishment of the advisory guidelines range, the determination of the
defendant’s criminal history, the weighing of the sentencing factors, and the decision whether to

 
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impose and the calculation ofany term of imprisonment, fine, order of forfeiture, order of restitution,
and term or condition of supervised release), except as follows: (i) the Defendant reserves the right
to appeal any term of imprisonment to the extent that it exceeds an aggregate 180 months
imprisonment; (ii) and this Office reserves the right to appeal any term of imprisonment to the extent
that it is below an aggregate 180 months imprisonment.

c. Nothing in this agreement shall be construed to prevent the Defendant or this |
Office from invoking the provisions of Federal Rule of Criminal Procedure 35(a), or from appealing
from any decision thereunder, should a sentence be imposed that resulted from arithmetical,
technical, or other clear error.

d. The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to file
any request for documents from this Office or any investigating agency,

Court Not a Party

14. The Defendant expressly understands that the Court is not a party to this agreement.

In the federal system, sentence is imposed by the Court, and the Court is under no obligation to
accept this plea agreement. In the event the Court rejects this Rule 11(c)(1}(C) plea agreement,
pursuant to Rule 11(c)(5)(C), the Defendant will be informed that he may withdraw his plea. If he
persists in the guilty plea thereafter, the Defendant understands that the disposition of the case may
be less favorable than that contemplated by this agreement. The Defendant understands that neither
this Office, his attorney, nor the Court can make a binding prediction or promise that the Court wiil
accept this agreement. The Defendant agrees that no one has made such a binding prediction or
promise.

Restitution

15. The Defendant agrees to the entry of a Restitution Order for the full amount of the
victims’ losses, The Defendant agrees that, pursuant to 18 U.S.C. §§ 3663 and 3663A and §§
3563(b)(2) and 3583(d), the Court may order restitution of the full amount of the actual, total loss
caused by the offense conduct set forth in the factual stipulation. The Defendant further agrees that
he will fully disclose to the probation officer and to the Court, subject to the penalty of perjury, all
information, including but not limited to copies of all relevant bank and financial records, regarding
the current location and prior disposition of all funds obtained as a result of the criminal conduct set
forth in the factual stipulation. The Defendant further agrees to take all reasonable steps to retrieve
or repatriate any such funds and to make them available for restitution. If the Defendant does not
fulfill this provision, it will be considered a material breach of this plea agreement, and this Office
may seek to be relieved of its obligations under this agreement.

Obstruction or Other Violations of Law

16. The Defendant agrees that he will not commit any offense in violation of federal, state
or local law between the date of this agreement and his sentencing in this case. In the event that the
Defendant (a) engages in conduct after the date of this agreement that would justify a finding of

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obstruction of justice under U.S.S.G. § 3C1.1; (b) fails to accept personal responsibility for his
conduct by failing to acknowledge his guilt to the probation officer who prepares the Presentence
Report; or (c) commits any offense in violation of federal, state or local law, then this Office will be
relieved of its obligations to the Defendant as reflected in this agreement. Specifically, this Office
will be free to argue sentencing guidelines factors other than those stipulated in this agreement, and
it will also be free to make sentencing recommendations other than those set out in this agreement.

As with any alleged breach of this agreement, this Office wiil bear the burden of convincing the .

Court of the Defendant’s obstructive or unlawful behavior and/or failure to acknowledge personal
responsibility by a preponderance of the evidence. The Defendant acknowledges that he may not
withdraw his guilty plea because this Office is relieved of its obligations under the agreement
pursuant to this paragraph.

Entire Agreement

17. This agreement, together with the Sealed Supplement, supersedes any prior

understandings, promises, or conditions between this Office and the Defendant and constitutes the
complete plea agreement in this case. The Defendant acknowledges that there are no other
agreements, promises, undertakings or understandings between the Defendant and this Office other
than those set forth in this agreement and none will be entered into unless in writing and signed by
all parties.

If the Defendant fully accepts each and every term and condition of this letter, please sign
and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Rod J. Rosenstein
United States Attorney

Benjamin M. Block
Assistant United States Attorney

 

 
 

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I have read this agreement, including the Sealed Supplement, and carefully reviewed every part of
it with my attorney. I understand it, and I voluntarily agree to it. Specifically, I have reviewed the
Factual and Advisory Guidelines Stipulation with my attorney, and I do not wish to change any part
of it. Iam completely satisfied with the representation of my attorney.

SLAG Eo deg

Date Edward Sampfe

Iam Edward Sample’s attorney. I have carefully reviewed every part of this agreement, including
the Sealed Supplement, with him. He advises me that he understands and accepts its terms. To my
knowledge, his decision to enter into this on , an informed and voluntary one.

— ————

Date Patrick Kent, Esquire

 

 
